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 1                                                             HONORABLE RICHARD A. JONES
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 8                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10
     UNITED STATES OF AMERICA,
11                                                      NO. 2:14-cr-00197-RAJ
                              Plaintiff,
12                                                      ORDER GRANTING STIPULATED
                  v.                                    MOTION TO CONTINUE TRIAL DATE
13                                                      AND PRETRIAL MOTIONS DEADLINE
14   ARISTEO RODRIGUEZ-RAMIREZ,

15                            Defendant.
16
            THE COURT having considered the stipulated motion filed by the parties
17
     requesting a continuance of the pretrial motions filing date and trial date, hereby finds that:
18
            (1)        Counsel for Mr. Rodriguez-Ramirez was appointed on May 3, 2016;
19
            (2)        Counsel for Mr. Rodriguez-Ramirez recently received a large amount of
20
     discovery that details and documents the government’s lengthy investigation, which
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     included numerous pen registers, trap and trace devices, wiretaps and search warrants over
22
     the course of two years, as well as many hours of recorded conversations and video
23
     surveillance;
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            (3)        Despite the diligent efforts of counsel, it is unreasonable to expect counsel
25
     for Mr. Rodriguez-Ramirez to be prepared for trial as currently scheduled;

                                                                                       LAW OFFICES
     ORDER GRANTING STIPULATED MOTION TO                                 CALFO HARRIGAN LEYH & EAKES LLP
     CONTINUE TRIAL DATE AND MOTIONS DEADLINE - 1                             999 THIRD AVENUE, SUITE 4400
                                                                              SEATTLE, WASHINGTON 98104
     (Case No. 2:14-cr-00197-RAJ)                                          TEL (206) 623-1700 FAX (206) 623-8717
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 1          (4)    In light of the circumstances in this case, a failure to grant a continuance
 2   would deny counsel for Mr. Rodriguez-Ramirez the reasonable time necessary for effective
 3   preparation, taking into account the exercise of due diligence, within the meaning of 18
 4   U.S.C. § 3161(h)(7)(B)(iv), and would result in a miscarriage of justice, 18 U.S.C. §
 5   3161(h)(7)(B)(i);
 6          (5)    The present case is sufficiently complex that it is unreasonable to expect
 7   adequate preparation for pretrial proceedings or for the trial itself within the time limits
 8   established by this section, 18 U.S.C. § 3161(h)(7)(B)(ii); and
 9          (6)    The ends of justice will be served by ordering a continuance in this case, that
10   a continuance is necessary to ensure adequate time for effective case preparation, and that
11   these factors outweigh the best interests of the public and the defendant in a speedy trial.
12          Accordingly, THE COURT ORDERS that the parties’ stipulated motion (Dkt. #367)
13   is GRANTED. The trial date in this case is continued to December 5, 2016.
14          IT IS FURTHER ORDERED that the period of time from the date of this ORDER
15   until the new trial date of December 5, 2016, shall be excludable time pursuant to the
16   Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).
17          IT IS FURTHER ORDERED that all pretrial motions, including motions in limine,
18   shall be filed no later than October 3, 2016.
19          DATED this 7th day of June, 2016.
20

21
                                                        A
                                                        The Honorable Richard A. Jones
22                                                      United States District Judge
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                                                                                     LAW OFFICES
     ORDER GRANTING STIPULATED MOTION TO                               CALFO HARRIGAN LEYH & EAKES LLP
     CONTINUE TRIAL DATE AND MOTIONS DEADLINE - 2                           999 THIRD AVENUE, SUITE 4400
                                                                            SEATTLE, WASHINGTON 98104
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